Case 2:03-cr-20445-SH|\/| Document 73 Filed 07/11/05 Page 1 of 2 lF><'J\Qe|D 101

 

IN THE UNITED sTATES DISTRICT coURT FI!.Eo BY_,_ no
FoR THE wEsTERN DISTRICT oF TENNESSEE ‘ '
wEsTERN DIVISION OSJUL H PH h, 36
UNITED STATES oF AMERICA, O_E%U S| 59319%
OH ¥.§',FW M",\,;p|.gs
vs. No. 03~20445-MaP

THOMAS JOHNSON,

Defendant.

 

ORDER GR.ANTING MO‘I‘ION TO RESE"I" SENTENCING AND
EXTENDING 'I‘IME FOR FILING POSITION PAPER
AND PRE-SENTENC ING MOTIONS

 

Before the court is defendant's June 30, 2005, unopposed
motion to continue the sentencing hearing which is presently set
on July ll, 2005, and to extend the time for filing position
papers and pre-sentencing motions. For good cause shown, the
motion is granted. The deadline for filing defendant’s position
paper and any motions related to sentencing is extended to July
22, 2005. Sentencing is reset to Wednesday, August 17, 2005, at

9=30 a.m.

/IK

day cf July, 2005.
MV""L""

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

Thls docl.mant entered on the docket aj in compliance
with Rule 55 and!or 32th FRCrP on m 3

DISTRIC COURT -WERSTE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:03-CR-20445 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

